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L]NITED STATES DISTzuCT COURT
WESTERN DISTRICT OF NEW YORK



MATTHEW BOROWSKI

                       P1aintiff,                      23-CY-257
v

U.S. CUSTOMS AND BORDER
PROTECTION

                       Defendant.




    ITEPLY MEMOITANDUM OF LAW IN FURTIIER SUPPORT OF DEFENDANT'S
               MOTION FOR PARTIAL SUMMARY JUDGMENT




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       Defendant, U.S. Customs and Border Protection ("CBP"), submits this Reply

Memorandum of Law in further suppofi of its Motion for Partial Summary Judgment @kt.

19) ar'd in reply to Plaintiffs Response in Opposition to Motion for Partial Summary

Judgment ("P1. MOL") @kt. 23).

   1. Matters Not in Dispute
       The parties agree as to the standard of review to be applied on a motion for summary

judgment in a FOIA case. See Memorandum of Law in Support of Defendant's Motion for

Partial Summary Judgment ("CBP MOL") (Dkt. 19- 3), pp. 2-4,P1. MOL at7-70. Irr

addition, Plaintiffdoes not claim that the search performed by CBP was not reasonably

designed to identiff and locate responsive documents.

   2. The Claimed Inaccuracies in the Defendant's Statement of Facts are Not Material
       In accordance with Fed. R. Civ. P. 56(c), summary judgment must be granted if it

can be shown that "there is no genuine issue as to any material fact and that the moving

par:ty is entitled to a judgment as amatter of law." Indeed, "[o]nly disputes over facts that

might affect the outcome of the suit under the goveming law will properly preclude the

entry of summary judgment. Factual disputes that are irrelevant or unnecessary will not be

counted." Anderson u. Liberty Lobby, Inc., 477 U.5.242,248 (1986). Once the movingparty

demonstrates the absence of a genuine issue of material fact, "the opposing parry must come

forward with specific evidence demonstrating the existence of a genuine dispute of material

fact." Federal Deposit Insurance Corp. v. Great American fnsurance Co., 607 F.3d 288, 292 (2d

Cir. 2010) (citing Anderson,477 U.S. at249). A party asserting that a fact is genuinely

disputed must support the assertion either by "citing to particular parts of materials in the

record" including affidavits or declarations, or by "showing that the materials cited do not


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establish the absence or presence of a genuine dispute, or that an adverse party cannot

produce admissible evidence to support the fact." Fed. R. Civ. P. 56(c)(1).

        Local Rule 56(a)(2) of the Local Rules of Civil Procedure provides:

        (2) Opposing Statement. The papers opposing a motion for summary
       judgment shall include a response to each numbered paragraph in the moving
       party's statement, in correspondingly numbered paragraphs and, if necessary,
       additional paragraphs containing a short and concise statement of additional
       material facts as to which it is contended there exists a genuine issue to be
       tried. Each numbered paragraph in the moving party's statement of material
       facts may be deemed admitted for purposes of the motion unless it is
       specifically controverted by a corespondingly numbered paragraphin the
       opposing statement.

       Affidavits and declarations "must be made on personal knowledge, set out facts that

would be admissible in evidence, and show that the affiant or declarant is competent to

testifi/ on the matters stated." Fed. R. Civ. P. 56(cXa); see Patterson v. Cnty of Oneida, N.Y.,

375 F.3d 206,219 (2d Clr". 2004). "The Rule's requirement that affidavits be made on

personal knowledge is not satisfied by assertions made 'on information and belief."'

Patterson, 375 F.3d at2I9. A verified pleading may have the effect of an affidavit, but only       if
it makes allegations on the basis of a plaintiffs personal knowledge . Id. Importantly, "[t]o

defeat a summary judgment motion, the nonmoving party 'must do more than simply show

that there is some metaphysical doubt as to the material facts,' and 'may not rely on

conclusory allegations or unsubstantiated speculation."' Great American Insurance Co.,607

F.3d at 292 (nternal citations omitted).

       With the exception of three of Defendant's facts-facts 6, 11, arrdl2-Plaintiffdoes

not dispute any of the remaining facts set forth in the Government's Statement of Material

Facts. Thus, all remaining facts are deemed admitted. With respect to Defendant's facts 6,

11, and 12,Plarntlffmerely asserts alleged "inaccuracies" in anapparent attempt to

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manufacture afactual dispute. Plaintiffneither supplies the requisite affidavits or

declarations, nor is Plaintiffs unsworn Reply, based upon information and belief, a verified

pleading that could otherwise be considered the equivalent of an affidavit. Even accepting

Plaintiffs Reply as the equivalent of an affidavit does not yield a different result, as his

assertions are immaterial.

       Taking each in tum, with respect to fact 6, Plaintiffstates his "belief' that a NEXUS

member "can, and is encouraged to, apply for a renewal prior to the expiration of their

membership." Pl. MOL p. 5. Plaintiffs unswom "belief' not only lacks the requisite

supporting documentation based on his personal knowledge (which he would be unable to

provide for his assertion), but such "belie?' is immaterial to any determination by this Court

that CBP properly withheld information under the relevant FOIA exemptions.

       With respect to fact 11, Plaintifftakes issue with Defendant's assertion that Plaintiffs

December 2013 outbound encounter at the border was considered an "inspection," but

agrees with Defendant that Plaintiffs NEXUS membership was revoked subsequent to that

border encounter. Pl. MOL p. 5. Whether or not an outbound encounter at the

intemational border of this sort is considered an "inspection" is not something Plaintiffcan

attest to of his owrr personal knowledge. Further, whether said encounter is considered an

inspection or a vehicle stop (as stated by Plaintiff) is immaterial to the Court's determination

that CBP properly withheld information under FOIA here.

       Lastly, regar ding fact 12, Plaintiff does not appear to contest the fact itself-that his

NEXUS membership was restored on April 25,2014 after CBP's discretionary review-but

rather adds his belief that it was reinstated because of his wife's litigation before U.S.

Magistrate Judge Jeremiah McCarthy. Pl. MOL p. 5. Plaintiffcannot attest, of his own



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personal knowledge, why his NEXUS membership was restored. Moreover, his belief as to

whyhis NEXUS membership was restored is immaterial to the Court's decision that CBP's

withholdings under FOIA were proper in this case.

       Plaintiffbore a burden to rely on evidence that is more than conclusory or

unsubstantiated speculation to defeat Defendant's motion for partial summary judgment.

SeeScottov.Almenas,l43F.3d 105, 114(2dCir. 1998); Lorberv.U.S.DeploftheTreasury,

2076WL 4581334, at*2 (E.D.N.Y. 9ept.2,2016) ("Conclusory statements, devoid of

specifics, are insufficient to defeat a properly supported motion for summary judgment.").

Plaintiffs allegations of inaccuracies contained within Defendant's Statement of Material

Facts are unswom and immaterial, and do not specifically controvert Defendant's Facts.

Simply, Plaintifffailed to meet his burden. Thus, allof Defendant's Statements of Material

Facts should be admitted.

   3. The Unswom Assertions in Plaintiffs plsliminary Statement Should be
       Disregarded

       The Preliminary Statement (P1. MOL 1-5) contains numerous unsworn, speculative

and unsubstantiated statements regarding alleged wrongdoing on the part of CBP. These

assertions are not in evidentiary form, and Plaintiffdid not submit "additionalparagraphs

containing a short and concise statement of additional material facts as to which it is

contended there exists a genuine issue to be ffied," as requfued by Local Rule 56(a)(2). The

unsworn allegations made in the Preliminary Statement (pp. 1-5), should be disregarded

because they are not supported by an affrdavtt or other evidentiary material.

       In any event, most of the allegations in the Preliminary Statement relate to a2013

incident involving Plaintiffand his wife at the border, the subsequent legal proceedings and

alleged harassment of Plaintiffat the border. Plaintiffalso speculates that CBP "may have

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used reasons to deny [his] NEXUS renewal and revoke [his] membership that [CBP]

previously deemed insufficient for revocation," and argues that such action was arbitrary

and capricious. Pl. MOL at 4. However, these assertions and claims are irelevant; the sole

issues to be decided in connection with this motion for partial summary judgment are

whether CBP's search was adequate andwhether CBP properly withheld requested records

under FOIA. Carney v. U.S. Dept. of fustice, 19 F.3d 807, 812 (2d Ct. 1994) (discussing

burden of proof in a FOIA case).

        Indeed, Plaintiff acknowledges that the Second Circuit has held that "[s]ummary

judgment is appropriate where the agenry declarations describe the justifications for

nondisclosure with reasonably specific detail, demonstrate that the information withheld

logically falls within the claimed exemption, and are not conffoverted by either conffary

evidence in the record of by evidence of agency bad faith...Thus, the agency's justification is

sufficient if it appears logical and plausible." Pl. MOL, 9-10, citing Halpern v. FBI, 181 F.3d

279 (2d cir. 1990), andAm. c.L. unionv. u.s. Dep't of Def.,901 F.3d 125,133 (2dcn.2018),

as amended (Aug. 22,2078).


   4. There is No Evidence that CBP Acted in Bad Faith in the plsgsssing of
       Plaintiff 's FOIA Request

   There is no evidence that CBP acted in bad faith in connection with Plaintiff's FOIA

request. While Plaintiff complains that his FOIA request was "ignored" until he brought

this litigation, Pl. MOL at 3, "[c]ourts routinely find that delays in responding to FOIA

requests are not, in and of themselves, indicative of agency bad faith." House y. U.S. Dep't of

lustice, 797 F . Supp. 3d 192, 204 (D.D.C. 20L6), citing Ellis v. (1.5. Dept of fustice, 170

F.Supp.3d 99,105 (D.D.C. 2015). Plaintiffhas not alleged that CBP engaged in any

misconduct, much less bad faith, in the processing of his FOIA request. His claims that

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CBP officers improperly interacted with him at the border cannot be used to establish bad

faith in connection with the FOIA claim. InHouse, the Court rejected an argument that the

agency should be found to have acted in bad faith in a FOIA case based upon the unrelated

allegations that Plaintiffwas subjected to unauthorized and illegal surveillance, and refused

to consider the unrelated allegations of misconduct as evidence of bad faith in in the

processing of his FOIA request. House, 110 F.Supp .3d at 304.

    5. CBP Properly'Withheld Exempt Information from Disclosure
       a, CBP Properly Withheld Five Pages of Information Under Exemption OXs)
         FOIA Exemption (bxs) exempts from disclosure "intra-agency memorandums or

letters that would not be available by law to aparty other than an agency in litigation with

the agency." 5 U.S.C. $ 552(b)(5). Plaintiff does not dispute any of CBP's legal arguments

relating to this exemption set forth at pages 9-10 of the CBP MOL, and he acknowledges

that disclosure of information documenting CBP's deliberative processes is protected. Pl.

MOL atll. Rather, he questions whether the redacted deliberations were truly pre-

decisional and claims, incorrectly, that CBP provided no supporting detail as to why the five

pages of e-mails were deliberative. Pl. MOL at       ll, 17. Further, while Plaintiffclaims that
he should be provided with the date(s) of the deliberations so that he can ensure that they

arc pre-decisional, id., he has cited no legal authority for this proposition.

        As is detailed in the Declaration of Patrick A. Howard, Dkt. l9-2,1125, the fle

pages of records "constitute internal, pre-decisional deliberations and recommendations of

CBP employees pertaining to Plaintiffs NEXUS eligibility, and they predate CBP's decision

regardingPlaintiff's NEXUS eligibility. Release of those pre-decisional, deliberative records

could reasonably be expected to have a chilling effect on the open and frank expression of


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ideas, recommendations, and opinions that occur when CBP officials engage in decision-

making processes." 1d.,n26. Based upon these statements, it is clear that Plaintiffs

concems have no merit.

       In enacting FOIA, Congress expected "that Federal courts, in making de novo

determinations ..., will accord substantial weight to an agency's affidavit conceming the

details of the classified status of the disputed record." Halpern, 181 F.3d at292. Affidavits

submitted by an agency are "accotded a presumption of good faith," Carney,19 F. 3d at872,

quoting SafeCard Servs., Inc. v. SEC, 926 F .2d ll97 , 1200 (D.C.Cir.1991). The presumption

of good faith "cannot be rebutted by 'purely speculative claims about the existence and

discoverability of other documents.'" SafeCard, 926 F .2d at 7200 . The requisite information

supporting the redaction of the five pages of information relating to pre-decisional

deliberations is already before this Court.

       b. CBP Properly Withheld Information Regarding Inspecti6n fsshniques and
           Procedures under Exemption (bX7)(E)

       Plaintiff did not refute any of the law set forth in Point B.5 of the CBP MOL (pp. 11-

20). Indeed, Plaintiff admits that "even if known by the public to some extent, [the

techniques and procedures] are nevertheless exempt if disclosure of the circumstances of

their use could lessen their effectiveness." Pl. MOL, at 18. "The key issue in determining

whether redacted material contains 'techniques or procedures' under Exemption 7(E) is

whether disclosure of that material would reveal particulars about the way in which an

agency enforces the law and the circumstances that will prompt it to act." Knight First

Amendment Institute at Columbia University v. USCIS,30 F.4th 318, 331 (2d Cn.2022).

       Plaintiff's claim that the Vaughn Index does not provide sufficient information to

allow him to determine whether this exception applies, Pl. MOL at 18-19, has no merit. In

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making this argument, Plaintiff ignores paragraphs 27-33 of the Howard Declaration, which

provide detailed information as to the material withheld, including information regarding

techniques and procedures for inspecting ffavelers and assessing law enforcement risks

associated with travelers, and informationregarding CBP's systems and databases. This

argument should be rejected.

       c. CBP Properly'Withheld Information Under Exemptions OX6) and O)(7)(C)
       Plaintiffcontends that that "release of the names of the CBP employees would not

constitute an 'unwarranted invasion of personal privacy"'because there is "no reasonable

expectation of privary in a public-facrnglaw enforcement career." Pl. MOL 15-16.

Plaintiffs claim is without merit.

       Courts have repeatedly rejected the proposition that government officials, by virtue

of their positions, forfeit their personal privacy under FOIA. See Baez v. U.S. Dept. of lustice,

647 F.2d 7328, 1339 (1980); CBP MOL, at20-24. "One who serves his state or nation as a

career public servant is not thereby stripped of every vestige of personal privacy, even with

respect to the discharge of his official duties. Public identification of any of these

individuals could conceivably subject them to harassment and annoyance in the conduct of

their official duties and in their private lives." Nix v. United States, 572F.2d 998, 1006 (4th

Cir. 1978).

       Importantly, when disclosure could result in an invasion of personal privacy, the

Supreme Court has made clear that a requester bears the burden of establishing that

disclosure would serve the public interest. Nat'l Archives & Recs. Admin. v. Fattish,541 U.S.

157 , 172 (2004) ("Where the privacy concems addressed by Exemption 7(C) are present, the


exemption requires the person requesting the information to establish a sufficient reason for



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the disclosure. First, the citizen must show that the public interest sought to be advanced is

a significant one, an interest more specific than having the information for its own sake.

Second, the citizen must show the information is likely to advance that interest."). A

requester's personal interest in disclosure is irrelevant to the public interest analysis. See

DOIv. Reps. Comm.forFreedomofthePress,4S9U.S. 749,771-72(1989) ("ffihether

disclosure of aprivate document under Exemption 7(C) is warranted must tum on the

nature of the requested document and its relationship to 'the basic purpose of the Freedom

of Information Act to open ager;.cy action to the light of public scrutiny,' rather than on the

particular purpose for which the document is being requested.") (internal citations omitted).

       In this matter, Plaintiffhas made no demonstration that a superior public interest

would be served by such a disclosure. While Plaintiffmay have a personal "interest in

knowing the names of the officers who made remarks or comments on the file CBP

maintains on Plaintiff," Plaintiffhas wholly failed to allege how it would be in the public

interest to reveal these employees' identities. Pl. MOL 16. Instead, Plaintiffmakes the

conclusory assertion that his "interest outweighs whatever privacy interest may be enjoyed

by a uniformed 1aw enforcement offi.cial." Pl. MOL 16.

       "Courts have consistently held that'where the plaintiffhas fatledto demonstrate any

superior public interest that would be served by disclosure, the competing interest of

avoiding an unwaranted invasion of personal privacy takes precedence, and the

information is exempt from disclosure under Exemption 7(C)."' Moradi v. Morgan, 527 F.

Supp. 3d IM,159 (D. Mass. 202L) (finding that, even where the plaintiffasserted generally

that the public has an interest in the CBP officers' names and titles, "the officers' rights to

privacy and safety out'weigh any public interest given [Plaintiffs] failure to demonsffate how


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the revelation of this kind of information would shed light on the operations and activities of

CBP," and thus the information was properly withheld under Exemption 7(C)) (intemal

citationsomiued); seealsoHulsteinv.DEA,671,F.3d690,695-96(8thCn.2012)("[Plaintiff]

presented no public interest to weigh against the agents' recognized privacy interests in their

involvement in a particvlar investigation, nor offered any evidence of govemment

impropriety beyond casting general aspersions on the factthat the DEA was investigating

him. Absent any such allegations, the names of the agents involved in the investigation

should remain confidential"); Vosburghv. IRS,l994WL 564699, at*4(D. Or. July 5,

1994), affd, I06F.3d 411 (9th Ctr. 1997) ("In general, public disclosure of the identities of

low-level employees does not significantly shed light on the activities or operations of the

govemment.").

       As noted above, it is "[t]he 'interest of the generalpublic, and not that of the private

litigant' [which] controls the analysis, and public interest in disclosure of records 'does not

include helping an individual obtain information for his personal use."' fames v. U.S.

Customs & Border Prot., 549 F. Supp. 2d L (D.D.C. 2008) (finding that names of CBP

personnel were exempt from disclosure under Exemption OX6) and (bX7)(C) because

disclosure of such information could interfere with CBP's mission, and there was no public

interest in release of such information as its dissemination would not help explain activities

and operutions of CBP) (citing Brown v. FBI, 658F.2d 77,75 (2d Cn. 1981) and Oguaju u.

United States,288 F.3d M8, 450 (D.C. Clr. 2002)).

       Outside of his own personal interest, Plaintiffhas made no showingatall-let alone

through means of a sworn affidavit or declaration-as to how publicly releasing the names




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of CBP employees, who Plaintiffalleges made remarks or comments about Plaintiff, would

shed any light on the activities or operations of CBP.

       Thus, for the foregoing reasons, and for those reasons stated in Defendant's Motion

for Partial Summary Judgment, CBP properly withheld information under Exemptions

(bX6), and (b)(7)(C), including the names of CBP employees.

   6. In Camera Review is Not-Waranted in this Case
       Plaintiffs request that this Court conduct an in camera review of the redacted

materials should be denied. While FOIA provides that "the [district] coult ... may examine

the contents of ... agency records in camera to determine whether such records" are

exempted, 5 U.S.C. $ 552(a)( )(B), " [iJn calnera review is considered the exception, not the

rule, and the propriety of such review is a maffer enffusted to the district court's discretion."

Halpem,181 F.3d at295. The Second Circuithas described its approach to orderingin

camera FOIA review as follows:


       With respect to in camera review, we adopted a restrained approach permitting
       such review where the record showed the reasons for withholding were vague
       or where the claims to withhold were too sweeping or suggestive ofbad faith,
       or where it might be possible that the agency had exempted whole documents
       simply because there was some exempt material in them. By the same token,
       where the affidavit is sufficiently detailed to place the documents within the
       claimed exemptions, and where the govemment's assertions are not
       challenged by contrary evidence or a showing of agenry bad faith, we have
       held that the district court should restrain its discretion to order in camera
       review.

Halpern,181 F.3d at292 (citations omitted).

       "[A] district court should not undertake in camera review of withheld documents as a

substitute for requiring arL agerrcy's explanation of its claimed exemptions in accordance

with Vaughn." Seife v. United States Depl of State,298F. Supp. 3d 592,630 (S.D.N.Y. 2018),

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quoting Spirko v. U.S. Postal Service,l4T F.3d992,997 (D.C. Cir. 1998). Instead, "[t]he

district court should first offer the agency the opportunity to demonsffate, through detailed

affidavits and oral testimony, that the withheld information is clearly exempt and contains

no segregable, nonexempt portions." Spirko, 147 F.3d at997 (citation and internal quotation

marks omitted). Thereafter, "[i]f the agency fails to provide a sufficiently detailed

explanation to enable the district court to make a de novo determination of the agenry's

claims of exemption, the district court then has several options, including inspecting the

documents in camera, requesting further affidavits, or allowing the plaintiffdiscovety." Seife,

298F. Supp.3dat630.

       For the reasons previously stated, Plaintiffhas failed to make any showingofbad

faith in the processing of his FOIA request. Further, Defendant has provided a sufficiently

detailed explanation for all withholdings in this maffer. Accordingly, Plaintiffs request for

an in camera review should be denied.

                                        CONCLUSION

       For the reasons set forth herein and in CBP's prior submissions, CBP's motion for

partial summary judgment dismissing the FOIA claim should be granted.

DATED: Buffalo, New York, December 19,2023.
                                                    Respectfully Submitted,

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